         Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 1 of 26




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                                                      )
V.U.C., et al.,                                       )
                                                      )
        Plaintiffs,                                   )
                                                      )
v.                                                    )       Civil Action No. 1:21-cv-10652-RGS
                                                      )       (Leave to File Granted 6/17/21)
UNITED STATES CITIZENSHIP AND                         )
IMMIGRATION SERVICES, et al.,                         )
                                                      )
                  Defendants.                         )
                                                      )

       MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

      U nonimmigrant status (“U visa”) is set aside for victims of qualifying crimes who have

been helpful to law enforcement in investigating or prosecuting the crime. Due to an annual statutory

cap on U visas, agency resource constraints, and growing demand, there is a backlog of

approximately 160,000 principal petitions for U visas awaiting adjudication for placement on the

waitlist. Once on the waitlist, the petitioner receives deferred action and becomes eligible for

employment authorization. U visa petitions are generally adjudicated on a “first in, first out” basis,

subject to certain limited exceptions, with current estimated wait times of 59.5 to 60 months for

United States Citizenship and Immigration Services (“USCIS”) to determine whether to place a

petitioner on the waitlist.

      The Court should dismiss the Complaint for lack of subject matter jurisdiction and failure

to state a claim. First, the Court lacks jurisdiction over the claims alleging unreasonable delay of U

visa petitions and concomitant EAD applications, since the pace at which USCIS adjudicates such

filings is discretionary and therefore unreviewable under a jurisdiction-stripping statute, 8

U.S.C. § 1252(a)(2)(B)(ii), as well as the Administrative Procedure Act (“APA”), 5 U.S.C.
         Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 2 of 26




§ 701(a)(1)-(2). Second, the Court also lacks jurisdiction over the claims regarding the adjudication

of requests for pre-waitlist employment authorization because the Secretary of Homeland Security

(“Secretary”) has discretion under 8 U.S.C. § 1184(p)(6) to decide whether to grant work

authorization while a U visa petition is pending, and thus that decision is also unreviewable under

Section 1252(a)(2)(B)(ii) and the APA. See id. To the extent Plaintiffs challenge USCIS’s non-

implementation of § 1184(p)(6), those claims are mooted by the new Bona Fide Determination

(“BFD”) policy announced on June 14, 2021. 1 Third, even if the Court has jurisdiction, Plaintiffs

have not plausibly alleged that the processing times are unreasonable under the APA, particularly

in light of the new policy designed to reduce them. Finally, Plaintiffs are not entitled to mandamus

because Defendants lack a nondiscretionary duty to adjudicate their U visa petitions and EAD

applications before those filed earlier in time by similarly situated petitioners.

        In essence, Plaintiffs ask the Court to order USCIS to adjudicate their placement on the

waitlist before petitioners with earlier-filed petitions. If the Court allows Plaintiffs to jump the line,

it would “simply move all others back one space and produce no net gain.” Mashpee Wampanoag

Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1100 (D.C. Cir. 2003). The decision would set a

dangerous precedent, “sending a clear signal that more litigious applicants”—and those with more

resources—“are more likely to be moved to the top of the proverbial pile over other applicants that

have waited even longer,” which could include those who filed their U visa petitions after Plaintiffs

and seek to leapfrog ahead of them. See Dmitrenko v. Chertoff, No. 07-CV-82, 2007 WL 1303009,

at *1 (E.D.Va. Apr. 30, 2007). “[T]hat would create more unfairness than it would remedy given



1
  USCIS, “Policy Alert: Bona Fide Determination Process for Victims of Qualifying Crimes, and
Employment Authorization and Deferred Action for Certain Petitioners” (June 14, 2021), available
at:https://www.uscis.gov/sites/default/files/document/policy-manual-updates/20210614-
VictimsOfCrimes.pdf (last visited June 15, 2021).

                                                    2
          Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 3 of 26




the likely number of equally worthy applicants.” Uranga v. USCIS, 490 F. Supp. 3d 86, 105

(D.D.C. Sept. 28, 2020). Thus, Defendants ask that the Complaint be dismissed with prejudice.

                          FACTUAL AND PROCEDURAL HISTORY

         Plaintiffs allege 2 they are crime victims who filed petitions for U nonimmigrant status

(“Form I-918”) in August and October of 2017. Dkt. 1 ¶¶ 32, 44. Plaintiff V.U.C. filed an EAD

application with her petition, id. ¶ 34, but Plaintiff P.C.C. did not file an EAD application until

December 31, 2020, id. ¶ 46. Plaintiffs’ petitions, filed 46 (P.C.C.) and 43 (V.U.C.) months ago,

fall within the agency’s posted estimated processing times. See USCIS, Check Case Processing

Times, available at https://egov.uscis.gov/processing-times/ (last visited J u n e 1 4 , 2021)

(noting current estimated time range of 59.5 to 60 months from time of filing to waitlist

adjudication for Form I-918 at either Nebraska or Vermont Service Center).3

         Plaintiffs assert six causes of action: three alleged violations of the APA and three claims

for relief under the Mandamus Statute, 28 U.S.C. § 1361. Dkt. 1 ¶¶ 51-86.

                    STATUTORY AND REGULATORY BACKGROUND

    I.   U Visa Petition Process.

         Congress has conferred upon the Secretary of Homeland Security the authority to determine

the admission conditions and processes for nonimmigrants. See 8 U.S.C. § 1184(a)(1). In 2000,

Congress created the U visa as a part of the Victims of Trafficking and Violence Protection Act of

2000 (“VTVPA”), Pub. L. 106-386, 114 Stat. 1464, to provide nonimmigrant status to victims of



2Defendants restate Plaintiffs’ factual allegations from the Complaint for purposes of this motion
only, without any admission or concession as to their accuracy.
3The Court may properly take judicial notice of facts from government websites. United States v.
Charles, 456 F. Supp. 3d 268, 283 n.11 (D. Mass. 2020) (citing Gent v. CUNA Mut. Ins. Soc’y,
611 F.3d 79, 84 n.5 (1st Cir. 2010)).

                                                  3
         Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 4 of 26




certain qualifying criminal activity who cooperate with law enforcement in the investigation or

prosecution of that criminal activity. See 8 U.S.C. § 1101(a)(15)(U). In 2006, Congress transferred

responsibility for U visas from the Attorney General to the Secretary of Homeland Security and

directed the Secretary to promulgate regulations implementing section 1513 of the VTVPA. Pub.

L. 109-162, 119 Stat. 2960, 3066 (2006); see also L.D.G. v. Holder, 744 F.3d 1022, 1025 (7th

Cir. 2014) (describing statutory history of U visas). Pursuant to these regulations, USCIS has sole

jurisdiction over all petitions for U visas and the authority to confer U nonimmigrant status to

eligible individuals in the United States. 8 C.F.R. § 214.14(c)(1), (5).

       An individual is eligible for a U visa if she can show that she has suffered substantial

physical or mental abuse as a result of having been a victim of a qualifying crime that violated the

laws of the United States or occurred in the United States or its territories or possessions; has

credible or reliable information about the crime; has been helpful to law enforcement in

investigating or prosecuting the crime; and is admissible to the United States or has obtained a

discretionary waiver of applicable grounds of inadmissibility. See 8 U.S.C. §§ 1101(a)(15)(U),

1182(a), 1182(d)(14); see also 8 C.F.R. §§ 214.1(a)(3)(i); 214.14(b), (c)(2); 212.17. USCIS “will

approve” a U visa petition that meets the statutory requirements in 8 U.S.C. § 1101(a)(15)(U). 8

C.F.R. § 214.14(c)(5)(i). If USCIS approves the petition, the petitioner will receive lawful U-1

nonimmigrant status and employment authorization for up to four years. See 8 U.S.C.

§ 1184(p)(6); 8 C.F.R. § 274a.12(a)(19). She may also be able to petition for certain qualifying

relatives. See 8 U.S.C. § 1101(a)(15)(U)(ii); 8 C.F.R. § 214.14(f). After three years of continuous

physical presence in the United States in U nonimmigrant status, she may apply to adjust status to

lawful permanent resident. See 8 U.S.C. § 1255(m)(1).

       By statute, the number of noncitizens who may be issued principal U visas or provided



                                                 4
         Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 5 of 26




principal U nonimmigrant status in the United States in any fiscal year shall not exceed 10,000. See

8 U.S.C. § 1184(p)(2)(A). Derivative petitions are not subject to the cap. Id. § 1184(p)(2)(B). In

the rule promulgating the U regulations, USCIS estimated it would receive approximately 12,000

principal U visa petitions per year. See 72 Fed. Reg. 53014, 53033. USCIS has met the statutorily

imposed cap each year since fiscal year 2010, and new filings have exceeded both the statutory cap

and the agency’s expectations each year since fiscal year 2011.4 The number of U visa petitions

filed with USCIS has increased markedly since 2009, when USCIS received 6,850 new principal

U visa petitions. See I-918 Chart. USCIS has received over 20,000 new principal U visa petitions in

each fiscal year since 2012. See id. By the end of the first quarter of Fiscal Year 2021, there were

160,611 principal U visa petitions pending. See id. But Congress has not raised the statutory cap.

       Anticipating that the statutory 10,000-per-year cap would be met within the first few fiscal

years of enactment, USCIS created a regulatory waitlist process. See 8 C.F.R. § 214.14(d)(2); see

also Patel v. Rodriguez, No. 15-cv-486, 2015 WL 6083199, at *1 (N.D. Ill. Oct. 13, 2015)

(explaining the waitlist process). USCIS generally processes U visa petitions for waitlist eligibility

in the order they are received. 5 USCIS may, in its discretion, expedite the adjudication of U visa

petitions, as with other petitions and applications adjudicated by the agency, in certain limited

circumstances such as urgent humanitarian reasons. 6 In addition, USCIS may, in its discretion,


4 See USCIS, Number of Form I-918, Petition for U Nonimmigrant Status by Fiscal Year, Quarter,
and Case Status, Fiscal Years 2009-2021 (“I-918 Chart”), available at
https://www.uscis.gov/sites/default/files/document/reports/I918u_visastatistics_fy2021_qtr1.pdf
(last visited June 14, 2021).
5See USCIS Processing Times (“We generally process cases in the order we receive them.”); see
also 72 Fed. Reg. 53014, 53033 (describing the waiting list mechanism and indicating that “USCIS
[will] adjudicate petitions on a first in, first out basis”).
6SeeUSCIS, How to Make an Expedite Request, available at https://www.uscis.gov/forms/filing-
guidance/how-to-make-an-expedite-request;  https://www.uscis.gov/policy-manual/volume-1-


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           Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 6 of 26




expedite the adjudication of U visa petitions at the request of U.S. Immigration and Customs

Enforcement (“ICE”), in certain limited circumstances, including when the petitioner or a

qualifying family member is in various stages of removal proceedings. 7 Further, because

qualifying family members are not subject to the statutory cap found at 8 U.S.C. § 1184(p)(2), and

because derivative petitions depend upon the principal petition, USCIS endeavors to adjudicate

group filings together, even if derivative petitions are filed after the principal petition. See 8 C.F.R.

§ 214.14(f)(2). However, Plaintiffs do not allege any facts indicating that their petitions fall under

any of these limited exceptions to the general “first in, first out” process. See generally Dkt. 1.

          If a U visa petition is determined to be approvable, but for the fact that a U visa is not

available due to the statutory cap, the petitioner is placed on the waitlist. See 8 C.F.R. §

214.14(d)(2). An approvable U visa petition is one that USCIS determines meets all the criteria to

be granted a U visa. Id. § 214.14(c)(5)(i). When USCIS places a petitioner on the waitlist, the

petitioner and qualifying family members, if in the United States, receive deferred action, 8 and

“USCIS, in its discretion, may authorize employment for such petitioners and qualifying family

members.” Id. § 214.14(d)(2).

          USCIS has taken steps in recent years to address the U visa backlog and ensure waitlist

eligibility determinations are made as quickly as feasible. Specifically, in August 2016, USCIS



part-a-chapter-5 (last visited June 15, 2021).
7
    Id.

8 Deferred action is “an act of administrative convenience to the government which gives some
cases lower priority” for removal. 8 C.F.R. § 274a.12(c)(14); see also Reno v. Am.-Arab Anti-
Discrim. Comm., 525 U.S. 471, 483-84 (1999) (describing deferred action). A person who has
received deferred action based upon placement on the U visa waiting list does not accrue unlawful
presence under 8 U.S.C. § 1182(a)(9)(B). See 8 C.F.R. § 214.14(d)(3). Deferred action does not
confer lawful status, and USCIS may terminate deferred action at its discretion. Id.

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           Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 7 of 26




expanded the number of facilities adjudicating U visa petitions to include its Nebraska Service

Center. Historically, all U visa petitions were adjudicated only at the Vermont Service Center. See

Calderon-Ramirez v. McCament, 877 F.3d 272, 276 (7th Cir. 2017).

    II.   PROCESS FOR OBTAINING EADS.

          Non-citizens are permitted to accept employment in the United States only if they are

lawfully admitted for permanent residence or otherwise authorized to be employed. See 8 U.S.C.

§ 1324a; 8 C.F.R. § 274a.12. At the time the Complaint was filed, USCIS conducted employment

authorization adjudication for U visa petitioners and their qualifying family members at the time of

waiting list placement and when granted U nonimmigrant status. 8 C.F.R. §§ 214.14(d)(2), 274a.12(c)(14);

8 U.S.C. § 1184(p)(3)(B). Since June 14, 2021, employment authorization is available to U visa

petitioners and their qualifying family members at three points: upon a favorable bona fide

determination and assessment that a favorable exercise of discretion is warranted, upon placement

on the waitlist, and upon the grant of U nonimmigrant status.9

          On June 14, 2021, USCIS published a Policy Manual update implementing a process

which will provide employment authorization and deferred action more efficiently to U visa

petitioners and their qualifying family members with pending bona fide petitions who merit a

favorable exercise of discretion. See USCIS Policy Manual, Volume 3, Part C, Chapter 5 available

at https://www.uscis.gov/policy-manual/volume-3-part-c-chapter-5 (last visited June 14, 2021).

The new process is referred to as the Bona Fide Determination (“BFD”) process and is authorized

under 8 U.S.C. § 1184(p)(6), which, as discussed above, grants USCIS the discretion to issue

work authorization to any non-citizen with a pending, bona fide U-visa petition. By implementing



9 Once the BFD process has been fully implemented, USCIS will begin granting EADs to
petitioners with pending bona fide U-visa petitions who merit a favorable exercise of discretion.

                                                   7
         Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 8 of 26




this new policy, USCIS seeks to address the U visa backlog by evaluating and adjudicating

petitions as efficiently as possible. Id. The BFD process provides an opportunity for certain

petitioners to receive BFD EADs and deferred action while their petitions are pending, consistent

with the William Wilberforce Trafficking Victims Reauthorization Act of 2008 (“TVPRA 2008”),

See Pub. L. 110-457 (PDF) (December 23, 2008), and the Secretary’s authority over the

administration and enforcement of the immigration laws. 8 U.S.C. § 1103(a)(1), (a)(3).

        Petitioners whose petitions are pending, and those on the waitlist and their qualifying

family members, are not automatically granted work authorization. In 2008, Congress amended 8

U.S.C. § 1184(p)(6), specifying that “[t]he Secretary may grant work authorization to any alien

who has a pending, bona fide application for nonimmigrant status under section 1101(a)(15)(U)

of this title.” (emphasis added). Acting within the discretion granted by the plain language of the

statute, USCIS did not separately implement 8 U.S.C. § 1184(p)(6)’s amended language to provide

work authorization to petitioners who were not yet on the waitlist until June 14, 2021. Under the

new policy, USCIS conducts bona fide determinations and considers whether to exercise its

discretion under 8 U.S.C. § 1184(p)(6) to grant employment authorization to pending, bona fide

petitioners. At the waiting list phase, “USCIS, in its discretion, may authorize employment for such

petitioners and qualifying family members” who are in the United States. 8 C.F.R. § 214.14(d)(2)

(emphasis added). By contrast, once the U visa petition is granted, “the Attorney General shall,

during the period those aliens are in lawful temporary resident status under that subsection, provide

the aliens with employment authorization.” 8 U.S.C. § 1184(p)(3)(B) (emphasis added).

III.    SUMMARY OF U VISA PETITION PROCESS.

        Based on the foregoing statutes and regulations, the U visa petition process consists of

three distinct stages:



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          Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 9 of 26




     •   First, “a U-Visa applicant whose application has not been processed by USCIS is not

         entitled to temporary resident status, deferred action, or work authorization.” Butanda v.

         Wolf, No. 1:20-cv-01155, -- F. Supp. 3d. ---, 2021 WL 327714, at *2 (D. Colo. Feb. 2021).

     •   Second, USCIS conducts a review to determine whether a pending petition is bona fide,

         and whether a favorable exercise of discretion is warranted. If these determinations are

         favorable, USCIS may exercise discretion to grant deferred action and employment

         authorization to petitioners and family members in the U.S. for four years. If these

         determinations are unfavorable, USCIS initiates a waiting list adjudication to consider

         whether the petitioner or family member is eligible for U nonimmigrant status in all

         respects but for the statutory cap. If that determination is favorable, petitioners and family

         members in the U.S. are eligible for employment authorization and deferred action for 4

         years. 10

     •   “At stage three, a U-Visa applicant whose application has been approved is entitled to

         temporary resident status and employment authorization.” Id.

Here, Plaintiffs are at stage 1 and ask the Court to order Defendants to bump them to stage 2. See

Dkt. 1 at 15. In addition, Plaintiffs seek EADs before waitlist adjudication. See id.

                              APPLICABLE LEGAL STANDARDS

         Federal Rule of Civil Procedure 12(b)(1) requires dismissal of a complaint when the court

lacks subject-matter jurisdiction. A plaintiff has the burden of establishing that the court has

subject matter jurisdiction, Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992), and courts

“presume that [they] lack jurisdiction unless the contrary appears affirmatively from the record.”



10See USCIS Policy Manual, Volume 3, Part C, Chapter 4, available at:
https://www.uscis.gov/policy-manual/volume-3-part-c-chapter-4 (last visited June 15, 2021).

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          Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 10 of 26




Renne v. Geary, 501 U.S. 312, 316 (1991) (citations omitted).

          “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient

factual matter, accepted as true, ‘to state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)); see also Atieh v. Riordan, 727 F.3d 73, 76 n.4 (1st Cir. 2013) (noting that Iqbal may

require dismissal of an APA claim where “the underlying premise of the complaint is legally

flawed (rather than factually unsupported)”).

                                            ARGUMENT

     I.   THE COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS.

          Plaintiffs allege that Defendants have unreasonably delayed or unlawfully withheld

adjudication of their U visa petitions and applications for work authorization. They seek relief under

the APA, which provides that a reviewing court “shall compel agency action unlawfully withheld

or unreasonably delayed.” 5 U.S.C. § 706(1). However, “the only agency action that can be

compelled under the APA is action legally required.” Norton v. S. Utah Wilderness All. (“SUWA”),

542 U.S. 55, 63 (2004). Furthermore, the APA applies “except to the extent that . . . (1) statutes

preclude judicial review; or (2) agency action is committed to agency discretion by law.” 5 U.S.C.

§ 701(a)(1)-(2). And the Immigration and Nationality Act (“INA”) provides: “Notwithstanding

any other provision of law (statutory or nonstatutory), including [28 U.S.C. § 1361] . . . no court

shall have jurisdiction to review . . . any . . . decision or action of the Attorney General or the

Secretary of Homeland Security the authority for which is specified under this subchapter11 to be




11
    As explained by the Supreme Court, “this subchapter” refers to “Title 8, Chapter 12, Subchapter
II, of the United States Code, codified at 8 U.S.C. §§ 1151–1381 and titled ‘Immigration.’” Kucana
v. Holder, 558 U.S. 233, 239 n.3 (2010).

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        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 11 of 26




in the discretion of the Attorney General or the Secretary of Homeland Security, other than the

grantingof [asylum].” 8 U.S.C. § 1252(a)(2)(B)(ii); M & K Engineering Inc. v. Johnson, 814 F.3d

481, 484 (1st Cir. 2016).

           A. INA Section 1252(a)(2)(B)(ii) and APA Section 701(a) Preclude Review of the
              APA Claims Relating to Delayed Waitlist Adjudication of U Visa Petitions
              and V.U.C.’s Accompanying EAD Application.

        Section 1184 of Title 8 provides that “[t]he admission to the United States of any alien

 as a nonimmigrant shall be for such time and under such conditions as the Attorney General12

 may by regulations prescribe . . . .” (emphasis added). 8 U.S.C. § 1184(a)(1). Here, Section

 1184(a)(1) grants broad discretion to the Secretary of Homeland Security 13 to determine the

 conditions for nonimmigrant admission, see CDI Info. Servs., Inc. v. Reno, 278 F.3d616, 619 (6th

 Cir. 2002); Buddhi v. Holder, 344 F. App’x 280, 284 (7th Cir. 2009); M & K Engineering Inc.,

 814 F.3d at 485 (“By using the precatory term ‘may,’ rather than the directory term ‘shall’

 Congress [in 8 U.S.C. § 1155] indicated its intent to make [the decision] discretionary.”),14

 including admission as a U nonimmigrant. Nothing in the INA purports to constrain that

 discretion by prescribing a timeframe for placing U visa petitioners on the waitlist or requiring


12
   The Homeland Security Act of 2002 provided that, following the transfer of certain
governmental functions to the Department of Homeland Security, “reference in any other Federal
law to any department, commission, or agency or any officer or office the functions of which are
so transferred shall be deemed to refer to the Secretary, other official, or component of the
Department…” 6 U.S.C. § 557. The statutory reference to the Attorney General in 8 U.S.C. §
1184(a)(1) therefore refers to the Secretary of Homeland Security.
13“[T]he Homeland Security Act of 2002 . . . expressly transferred that responsibility to the
Secretary of Homeland Security, 6 U.S.C. § 202, and 6 U.S.C. § 557 commands us to read §
1184(a)(1) as if it refers to the Secretary of Homeland Security.” Buddhi v. Holder, 344 F. App’x
280, 284 n.1 (7th Cir. 2009).
14
   But see Royal Siam Corp. v. Chertoff, 484 F.3d 139 (1st Cir. 2007) (questioning, but not
deciding, whether the language of 8 U.S.C. § 1184(a)(1) was sufficiently discretionary to invoke
8 U.S.C. § 1252(a)(2)(B)(ii)).

                                                11
       Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 12 of 26




certain petitioners to be given priority over others. “Granting the Attorney General and the

Secretary the discretion to promulgate regulations governing the process of adjudication

necessarily includes a grant of discretion over the pace of adjudication.” Beshir v. Holder, 10 F.

Supp. 3d 165, 174 (D.D.C. 2014); see also Orlov v. Howard, 523 F. Supp. 2d 30, 35 (D.D.C.

2007)(“In the absence of statutorily prescribed time limitations or statutory factors to guide

USCIS in crafting regulations for the adjustment process, it is difficult to determine how the

pace of processing an application could be anything other than discretionary.”).

       Likewise, Congress has granted the Secretary (and USCIS as his designee) broad

discretion over the issuance of employment authorization to those with pending, bona fide U

visa petitions. The INA provides that “[t]he Secretary may grant work authorization to any alien

who has a pending, bona fide application for nonimmigrant status under section 1101(a)(15)(U)

of this title.” 8 U.S.C. § 1184(p)(6) (emphasis added). “The word ‘may’ is a clear grant of

discretion to the USCIS.” Ramires, 2020 WL 6146393, at *4; M & K Engineering Inc, 814 F.3d

at 485. “This discretion suggests the same discretion in implementing the provision. . . . Congress

has shown that it knows how to require an agency to implement a provision and adjudicate

claims, especially within a certain timeframe. Yet Congress did not do so when it granted the

Secretary the authority to provide work authorizations.” Gonzalez, 985 F.3d at 367. By contrast,

in 2006, Congress required the Secretary to promulgate regulations to implement the U visa

program as part of the Violence Against Women Act. See Pub. L. No. 109-162, § 828,119 Stat.

2960, 3066 (2006).

       Defendants acknowledge that this court has held that district courts have subject matter

jurisdiction to consider whether a delay in adjudication of adjustment of status applications is

unreasonable under the APA and respectfully requests that the court reconsider this decision in



                                                12
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 13 of 26




 the U visa context. Vorontsova v. Chertoff, No. 07-10426-RGS, 2007 WL 3238026, at * 2 (D.

 Mass. Nov. 2, 2007).

         “The term ‘action’ must encompass the discretionary pace at which the . . . process

 proceeds because it encompasses the various other discretionary acts that constitute the process

 as a whole and that direct the pace of the process.” Beshir, 10 F. Supp. 3d at 174. How USCIS

 exercises its discretion to manage the backlog of pending U visa petitions, including in what

 order to consider the petitions and how to best allocate its resources, is part of that process.15

 “As such, § 1252(a)(2)(B)(ii) precludes judicial review of any ‘action,’ meaning any act or series

 of acts, included within the ongoing adjudication process and the pace at which that action

 proceeds.” Safadi v. Howard, 466 F. Supp. 2d 696, 700 (E.D. Va. 2006); accord Touarsi v.

 Mueller, 538 F. Supp. 2d 447, 452 (D. Mass. 2008). Hence, Section 1252(a)(2)(B)(ii) applies to

 the pace of U visa adjudication. See Butanda, 2021 WL 327714, at *5.

        Because “Congress has entrusted the timeline for processing U-Visa applications to the

 discretion of the Attorney General,” id. at *4, both INA Section 1252(a)(2)(B)(ii) and APA

 Section 701(a) 16 divest this Court of jurisdiction to consider the claim of delayed adjudication of

 Plaintiffs’ U visa petitions and accompanying employment authorization applications. See id.

 (“The lack of a Congressionally mandated timeline and the concomitant grant of discretion to



15
  Although some courts have held that delayed adjudication constitutes “inaction” rather than
“action,” this distinction is elusive, “given that the difficulty in distinguishing between what
constitutes “action” and “inaction” has been long acknowledged by courts and academic
commentators alike.” Singh v. Napolitano, 710 F. Supp. 2d 123, 131 (D.D.C. 2010). For example,
one could say that Plaintiffs are challenging the agency’s action in adjudicating other U visa
petitions rather than theirs.
16
  APA Section 701(a)(1) bars review because a “statute[]”—i.e., 8 U.S.C. § 1252(a)(2)(B)(ii)—
“preclude[s] judicial review.” APA Section 701(a)(2) bars review because “agency action is
committed to agency discretion by law” pursuant to 8 U.S.C. §§ 1184(a)(1) and 1184(p)(6).


                                                 13
       Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 14 of 26




determine the ‘time’ and ‘conditions’ of admitting U-Visa applicants renders the pace of

adjudication non-reviewable under Section 1252.”); Mendez v. United States Dep’t of Homeland

Sec., — F. Supp. 3d —, No. 1:20-CV-460, 2020 WL 7585828, at *3 (W.D. Mich. Dec. 16,

2020) (“[T]he Court finds that it lacks subject matter jurisdiction to resolve Plaintiffs’

claims that their U-Visa applications have been unreasonably delayed.”); Canevaro v. Wolf,

No. 1:20-CV-3553-SCJ, 2021 WL 2283870 (N.D. Ga. May 20, 2021) (“Adjudication of U Visa

applications is statutorily committed to the discretion of the Secretary [of Homeland Security],

and by extension, USCIS”); Lemus v. McAleenan, No. CV 20-3344 (RBK/AMD), 2021 WL

2253522 (D.N.J. June 3, 2021) (concluding that 8 U.S.C. § 1184(a)(1) “clearly grants discretion

over the promulgation of regulations for adjudicating U visas which necessarily includes

discretion over the pace of adjudication.”).

       To be sure, some courts have held that they have jurisdiction to review claims of

unreasonable delay in adjudicating U visa petitions for waitlist placement. See, e.g., Guzman

Leizon v. Wilkinson, No. 3:20-cv-30181-MGM (Minute Order) (D. Mass. May 24, 2021);

Gonzalez v.Cuccinelli, 985 F.3d 357, 374 n.10 (4th Cir. 2021) (finding unreasonable delay claim

reviewable because the “agency has committed itself by regulation to place eligible applicants on

the waitinglist”); 17 M.J.L. v. McAleenan, 420 F. Supp. 3d 588, 597 (W.D. Tex. 2019) (holding that

“the USCIS has a nondiscretionary duty to adjudicate U Visas within a reasonable time”).

However, these courts have “conflate[d] the Secretary’s obligation to adjudicate U-Visa



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    The district court below did not address the jurisdictional issue, and it therefore was not
briefed before the Fourth Circuit. See Gonzalez, 985 F.3d at 374; see also Gonzalez v. Cissna, 364
F. Supp.3d 579, 584 (E.D.N.C. 2019) (dismissing the unreasonable delay claim for failure to state
a claim). Further, the Fourth Circuit did not analyze the discretion committed to the Secretary
pursuant to 8 U.S.C. § 1184(a)(1) in the context of 8 U.S.C. § 1252(a)(2)(B)(ii).



                                               14
       Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 15 of 26




applications with questions regarding the pace of such adjudication.” Mendez, 2020 WL 7585828,

at *3. “Stated differently, this analysis fails to recognize a distinction between (a) a claim that the

Secretary has refused to adjudicate a U-Visa application and (b) a claim that the adjudication

process is simply proceeding too slowly.” Id. Here, the allegation is not that the normal processing

time has come and gone, yet the agency is refusing to adjudicate Plaintiffs’ petitions. The

allegation is that the agency is exercising its discretion to adjudicate earlier-filed petitions first.

        These cases also have not considered that “Congress knows how to, and often does,

prescribe timelines for nonimmigrant admission when it wants to.” Butanda, 2021 WL 327714,

at *4. Tellingly, Section 1184 contains several provisions with built-in adjudication timelines,

but the subsection governing U visas contains no timelines. Compare 8 U.S.C. § 1184(p) (U

visas) with, e.g., id. § 1184(c)(2)(C) (“The Attorney General shall provide a process for reviewing

and acting upon petitions under this subsection with respect to nonimmigrants described in

section 1101(a)(15)(L) of this title within 30 days after the date a completed petition has been

filed.”). “It is generally presumed that Congress acts intentionally and purposely when it includes

particular language in one section of a statute but omits it in another.” BFP v. Resolution Tr. Corp.,

511 U.S.531, 537 (1994) (internal quotation marks and alteration omitted).

        Congress decided to cap the number of principal U visa petitions granted each year, and

to let the agency decide how to manage any overflow.18 The agency has exercised its discretion

to adopt a “first in, first out” methodology for its regulatory BFD and waitlist determinations.

Hence, Plaintiffs must wait their turn to be adjudicated for the BFD or waitlist and, if determined



18
   Congress can choose to raise the cap or enact other measures to resolve the backlog. In any
event, the “lack of resources” to handle U visa petitions is “a problem for the political branches
to work out.” Mashpee, 336 F.3d at 1100 (internal quotation marks omitted).



                                                 15
       Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 16 of 26




eligible, to have their corresponding EAD applications adjudicated. Because Plaintiffs’ claim of

unreasonable delay stems from this exercise of discretion, Section 1252(a)(2)(B)(ii) precludes

judicial review. Furthermore, the Court lacks jurisdiction under the Section 701(a) of the APA.

The Court should therefore dismiss these claims for lack of subject matter jurisdiction.

          B. INA Section 1252(a)(2)(B)(ii) and APA Section 701(a) Also Preclude Review of
             Plaintiffs’ APA Claims Regarding Adjudication of Requests for Employment
             Authorization Purportedly Made Pursuant to 8 U.S.C. § 1184(p)(6).

       As a foundational matter, to the extent Plaintiffs challenge the non-implementation of 8

U.S.C. § 1184(p)(6) generally, those claims are mooted by USCIS’s implementation of this

statutory provision on June 14, 2021. See Horizon Bank & Trust Co. v. Massachusetts, 391 F.3d

48, 53 (1st Cir. 2004)(holding a case or issue becomes moot “when the court cannot give any

effectual relief to the potentially prevailing party.”)(internal citations omitted). To the extent

Plaintiffs seek to challenge USCIS’s non-implementation of 8 U.S.C. § 1184(p)(6) prior to June

14, 2021, or compel particular outcomes now that the policy has been implemented, INA Section

1252(a)(2)(B)(ii) and APA Section 701(a) also bar these claims. The silence regarding

implementing the work authorization provision indicates that “the agency is not required to

adjudicate pre-waiting-list work authorizations.” Gonzalez, 985 F.3d at 369.

       As explained supra, the decision whether to grant work authorization during the pendency

of a U visa petition before waitlist adjudication is committed to agency discretion. Hence, the

Court lacks jurisdiction under both 8 U.S.C. § 1252(a)(2)(B)(ii) and 5 U.S.C. § 701(a) 19 to review

Plaintiffs’ claims regarding allegedly delayed work authorizations. See N-N v. Mayorkas, -- F.




19
  APA Section 701(a)(1) bars review because a “statute[]”—i.e., 8 U.S.C. § 1252(a)(2)(B)(ii)—
“preclude[s] judicial review.” APA Section 701(a)(2) bars review because “agency action is
committed to agency discretion by law” pursuant to 8 U.S.C. § 1184(p)(6).

                                               16
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 17 of 26




 Supp. 3d ----, 2021 WL 1997033, at *11 (E.D.N.Y. May 18, 2021) (“the agency has no court-

 enforceable duty to determine the “bona fide” status of pending applications”); Butanda, 2021

 WL 327714, at *5 (holding that “the court lacks jurisdiction over any attempt to compel work

 authorization under 5 U.S.C. § 702(a)(2) and 8 U.S.C. § 1252(a)(2)(B)(ii)”); Ramires, 2020 WL

 6146393, at *5; but see P. v. McAleenan, No. 3:19-cv-40119-MGM (D. Mass. May 19, 2021)

 (Minute Order) (holding plaintiffs stated a colorable claim of unreasonable delay for pre-waitlist

 work authorization under 8 U.S.C. § 1184(p)(6)). Moreover, because the agency is not legally

 required to take any action, SUWA also compels dismissal of Count Two. See Gonzalez, 985 F.3d

 at 371 (holding that “under [SUWA] the agency is not required to implement or adjudicate pre-

 waiting-list work authorizations and so its failure to adjudicate Plaintiffs’ requests in a timely

 manner is unreviewable”).

            C. INA Section 1252(a)(2)(B)(ii) Also Precludes Review of the Mandamus
               Claims.

       If the Court concludes that Section 1252(a)(2)(B)(ii) precludes review of the discretionary

decisions regarding the pace of adjudicating Plaintiffs’ U visa petitions and EAD applications,

and its prior decision not to separately implement pre-waiting list work authorizations, then

it should also conclude that mandamus relief under 28 U.S.C. § 1361 is unavailable. 8 U.S.C.

§ 1252(a)(2)(B)(ii); Tourasi, 538 F. Supp. 2d at 452. Canevaro, 2021 WL 2283870, at *5-6.

Therefore, the Court should dismiss Counts Four through Six for lack of subject matter jurisdiction.

 II.    EVEN IF THE COURT HAS JURISDICTION, PLAINTIFFS FAIL TO STATE A
        CLAIM FOR RELIEF UNDER THE APA.

        Even if the Court concludes that it has jurisdiction, Plaintiffs have failed to state a claim of

unreasonable delay under the APA. The APA provides that an agency shall, “within a reasonable

time . . . proceed to conclude a matter presented to it.” 5 U.S.C. § 555(b). A reviewing court shall



                                                  17
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 18 of 26




“compel agency action unlawfully withheld or unreasonably delayed.” 20 5 U.S.C. § 706(1). To

determine whether agency action is unreasonably delayed, the Court should consider the six factors

set forth in Telecommunications Research and Action Center v. FCC, 750 F. 2d 70, 80 (D.C. Cir.

1984) (“TRAC”):

         1) the time agencies take to make decisions must be governed by a rule of reason;
         2) where Congress has provided a timetable or other indication of the speed with
         which it expects the agency to proceed in the enabling statute, that statutory
         scheme may supply content for this rule of reason; 3) delays that might be
         reasonable in thesphere of economic regulation are less tolerable when human
         welfare and health are at stake; 4) the effect of expediting delayed action on
         agency activities of a higher or competing authority; 5) the nature and extent of
         the interests prejudiced by delay; and 6) the court need not find any impropriety
         behind agency lassitude to hold that agency action is unreasonably delayed.

Id. (internal citations and quotations omitted). 21

       In considering these factors, courts have held that it is appropriate to “refuse[] to grant

relief, even though all the other factors considered in TRAC favor[] it, where a judicial order putting

the petitioner at the head of the queue would simply move all others back one space and produce

no net gain.” Mashpee, 336 F.3d at 1100 (citations and alterations omitted). In this regard, the

court noted that there was “no evidence the agency had treated the petitioner differently than

anyone else.” Id. at 1100–01; see also Morgovsky v. Dep’t of Homeland Sec., 517 F. Supp. 2d 581,

585 (D. Mass. 2007); see also Calderon-Ramirez, 877 F.3d at 275-76.



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   This relief is subject to an important limitation: the APA “empowers a court only to compel an
agency ‘to perform a ministerial or non-discretionary act,’ or ‘to take action upon a matter, without
directing how it shall act.’” SUWA, 542 U.S. at 64 (emphasis added; internal quotation omitted).

21 The First Circuit has not expressly adopted TRAC. But in multiple decisions, it has favorably
cited to the decision. See Anversa v. Partners Healthcare Sys., Inc., 835 F.3d 167, 178 (1st Cir.
2016) (citing TRAC for the proposition that whether a timeframe for agency action is unreasonable
depended on multiple factors); Towns of Wellesley, Concord & Norwood, Mass. v. F.E.R.C., 829
F.2d 275, 277 (1st Cir. 1987) (referring to the TRAC decision as setting forth “guidelines” relevant
to determining unreasonable delay and applying TRAC to the case).

                                                  18
          Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 19 of 26




          Plaintiffs have failed to show that there is an unreasonable delay in adjudicating their U

visa petitions. Granting their request would effectively delay the U visa petitions filed earlier in

time by similarly situated petitioners. V.U.C.’s APA unreasonable delay claim related to work

authorization should be similarly dismissed 22 because Plaintiffs cannot show that USCIS has

unlawfully withheld or unreasonably delayed adjudication, particularly as USCIS is not required

to adjudicate their applications out of order. Under the TRAC factors, Plaintiffs have not stated

sufficient facts for an APA unreasonable delay claim.

             A. Granting Plaintiffs’ Requested Relief Would Delay the Adjudication of
                Earlier- Filed Petitions (TRAC Factors 1 and 4).

          USCIS recognizes that, due to the increased volume of such petitions, there has been a

growing backlog of U petitioners awaiting placement on the waiting list or a final adjudication.

To address this issue, USCIS has exercised its discretion under 1184(p)(6) to implement the BFD

process, which will allow for a more efficient and expeditious adjudicative process. Under the new

BFD program, USCIS will continue adjudicating the petitions in the order they have been received,

subject to certain limited exceptions (not alleged here). This process constitutes a “rule of reason”

under the first TRAC factor. See Mendez, 2020 WL 7585828, at *4. Similarly, under the fourth

TRAC factor, there would be no net gain from the judicial order Plaintiffs seek. Id. Ordering

adjudication of Plaintiffs’ U visa petitions and EAD requests, thereby pushing Plaintiffs’ petitions

to the front of the line, would only slow adjudication of other similarly situated U visa petitions

and related EAD requests filed earlier in time. “Courts have concluded that, absent allegations that

an applicant has been treated differently from other applicants, claims by U-Visa applicants to move

ahead of other applicants should be rejected.” Id. Plaintiffs have not alleged any facts to establish



22   P.C.C. does not bring an unreasonable delay claim related to her EAD application.

                                                  19
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 20 of 26




why they should receive priority over those who filed before them. See Saleh v. Ridge, 367 F.

Supp. 2d 508, 513 (S.D.N.Y. 2005) (“Nor has Plaintiff provided any compelling rationale for why

he should not be made to wait his turn for adjudication.”);See Canevaro, 2021 WL 2283870, at

*6-7 (finding that consideration of U visa applicants’ waitlist eligibility is governed by a “rule of

reason” and that granting Plaintiffs’ requested relief would undermine this rule of reason.)

       In other such cases, courts have refused to move a plaintiff “to the front of the line,” as

doing so would only contribute to, rather than mitigate, the backlog of pending applications or

petitions. See Kobaivanova v. Hansen, No. 11-cv-943, 2011 WL 4401687, at *6 n.5 (N.D. Ohio

Sept. 16, 2011) (refusing “to compel the USCIS to adjudicate Plaintiff’s application immediately,

with the result that Plaintiff’s application would be resolved ahead of other applications that may

have been pending for longer”); Morgovsky, 517 F. Supp. 2d at 585 (“The court simply has

insufficient reason to advance Morgovsky to the head of the queue.”); Dmitrenko, 2007 WL

1303009, at *1 (declining to compel adjudication of an immigration petition because it “would set

a dangerous precedent, sending a clear signal that more litigious applicants are more likely to be

moved to the top of the proverbial pile over other applicants that have waited even longer”)

       Even if other TRAC factors favored Plaintiffs, it remains appropriate to deny relief where

a judicial order putting a petitioner at the head of the queue would simply move all other petitioners

back one space and produce no net gain. See Mashpee, 336 F.3d at 1100. “Thus, this [fourth TRAC]

factor strongly, if not dispositively, weighs against Plaintiffs’ position.” Mendez, 2020 WL

7585828, at *4; Uranga, 490 F. Supp. 3d at 105 (“Applying the fourth factor consistent with [D.C.]

Circuit precedent, the Court finds that the four-year delay in processing one of a large number of

applications does not warrant judicial intervention.”); N-N-, 2021 WL 1997033, at *12 (finding

over four-and-a-half-year delay in processing did not state a claim for unreasonable delay).



                                                 20
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 21 of 26




           B. There Is No Statutory or Regulatory Guidance on How Quickly USCIS
              Should Process U Visa Petitions (TRAC Factor 2).

       Under the second TRAC factor, Plaintiffs cannot state a claim for unreasonable delay. There

is no timetable or other indication of the speed with which Congress expects USCIS to proceed

with respect to U visa petitions or accompanying applications for work authorization. See

Mendez, 2020 WL 7585828, at *4 (“Congress has failed to articulate a timeframe within which it

expects U-Visa applications to be processed”); see also Vorontsova, 2007 WL 3238026, at *3

(holding plaintiff failed to state a claim for unreasonable delay in adjustment context, stating

“Here, there is no requirement that CIS act immediately, or even promptly, on the adjudication of

Vorontsova’s application.”).

       In fact, there is contrary guidance. Under 8 U.S.C. § 1184(p)(2), Congress specifically

provided that USCIS may issue only 10,000 principal U visas or status grants per year. Despite the

high volume of U visa petitions filed over the past decade, Congress has never increased the

statutory cap. This 10,000-visa cap provides insight into the scope of the U visa program Congress

envisioned and stands in stark contrast to, for example, the 140,000-plus cap on employment-based

immigrant visas available each fiscal year. See 8 U.S.C. § 1151(d)(1) (allowing 140,000 immigrant

visas for employment-based entrants or adjustment applicants, plus any unused family-based

immigrant visas). Acknowledging the challenges USCIS faces, courts have held that delays of

several years in adjudicating immigration benefits are neither unexpected nor unreasonable. See,

e.g., Saleh, 367 F. Supp. 2d at 513 (almost 5 years); Yan Chen v. Nielsen, No. 17-CV-7157, 2018

WL 1221130, at *2 (E.D.N.Y. Mar. 8, 2018) (4.5 years). Absent any statutory timetable, this

second TRAC factor also weighs in Defendants’ favor. See Mendez, 2020 WL 7585828, at *4.




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        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 22 of 26




            C. The Remaining TRAC Factors (3, 5, and 6) Do Not Compel a Finding of
               Unreasonable Delay.

        The third and fifth TRAC factors consider “human health and welfare” and the “interests

prejudiced by delay.” TRAC, 750 F.2d at 80. To be sure, crime victims without employment

authorization have significant interests at stake in the adjudication of their U visa petitions, which

undoubtably impact their health and welfare. However, all U visa petitioners necessarily share

Plaintiffs’ interests, as U visa petitioners, by definition, are asserting that they are crime victims

and seeking lawful immigrant status and employment authorization. The significance of Plaintiffs’

interests in their U visa petitions and EADs is not sufficient reason to prioritize their petitions over

those of other crime victims, some of whom may have even more pressing economic or health

concerns. 23 See Mendez, 2020 WL 7585828, at *4 (noting that “very real cost in terms of human

health and welfare” caused by U visa delays does not, standing alone, render a delay unreasonable);

N-N-, 2021 WL 1997033, at *16 (“This appeal to the possibility of discretionary relief is an

attenuated basis on which to complain about agency delay. Plaintiffs do not dispute that the agency

is acting to complete the adjudicatory process long before the core relief sought through that

process — the U visa — can actually be granted.”). Finally, the sixth TRAC factor provides that

agency impropriety is not required for a finding of unreasonable delay. Here, Plaintiffs do not

allege any impropriety or bad faith by USCIS. Overall, the remaining TRAC factors are neutral.

        On balance, the TRAC factors—especially the dispositive fourth factor—weigh in favor of

Defendants. Plaintiffs do not assert that USCIS is treating them differently from other petitioners.

To the contrary, they are asking for special treatment. If they succeed, other U visa petitioners


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   Indeed, as stated above, USCIS provides an opportunity for petitioners with “urgent
humanitarian reasons” to receive expedited consideration. Plaintiffs have not alleged that they have
sought such treatment, nor that they warrant it.



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        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 23 of 26




will line up to file their own lawsuits to jump ahead in line. And those petitioners who have been

waiting the longest will have to wait even longer as a result. See Morgovsky, 517 F. Supp. 2d at 585

(“While the court is sympathetic to Morgovsky’s desire to visit his ailing family members in

Ukraine without worry over the immigration consequences of a departure from the United States,

there are others caught in the naturalization system whose claims are no less compelling.”).

       Even if the Court concludes that 46 and 43 months “is a substantial and unreasonable

period of time to await a decision . . . a finding that delay is unreasonable does not, alone, justify

judicial intervention.” Uranga, 490 F. Supp. 3d at 105 (internal quotation marks omitted); see also

Anversa, 835 F.3d at 178 (“The duration of administrative proceedings, without more, cannot

suffice to demonstrate that an agency's actions are unreasonable”); Mashpee, 336 F.3d at 1102

(“[whether delay is unreasonable] . . . cannot be decided in the abstract, by reference to some

number of months or years beyond which agency inaction is presumed to be unlawful”).

       Judicial intervention would necessarily involve an intrusion into the Defendants’ allocation

of adjudicatory resources, which courts are ill equipped to address. see also Uranga, 490 F. Supp.

3d at 106 (noting that “it is incumbent upon the legislature to insist that the agency receive[] the

means” to adjudicate U visa petitions more expeditiously); N-N-, 2021 WL 1997033, at *14

(stating “[b]ut for this Court to demand an accelerated protocol, I would have to intrude into a

quintessentially administrative function, and in the process reconfigure the agency's priorities to

advance more than 100,000 U visa petitioners at the expense of applicants who seek other benefits

from the agency, such as every other type of immigrant- and non-immigrant visa, asylum, and

other remedies. This “is something that this Court is institutionally ill-equipped to do.”) (internal

quotations and citations omitted). Such intervention is particularly unwarranted where, as here,

USCIS has implemented a new program “ to review petitions more efficiently, and provide the



                                                 23
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 24 of 26




benefits of employment authorization and deferred action to more petitioners in a shorter time

period.” 24 See Vermont Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S.

519, 543 (1978)(“Absent constitutional constraints or extremely compelling circum-stances the

administrative agencies should be free to fashion their own rules of procedure and to pursue

methods of inquiry capable of permitting them to discharge their multitudinous duties”).

       Because USCIS has not unreasonably delayed any action, the Court should dismiss Counts

One and Three for failure to state a claim.

III.   Plaintiffs’ Mandamus Claims Should Be Dismissed Absent a Nondiscretionary Duty
       to Adjudicate Their Petitions Ahead of Earlier-Filed Petitions.

       Even if the Court concludes that Section 1252(a)(2)(B)(ii) does not bar the mandamus

claims, dismissal of Counts Fourth through Six is still appropriate under Rule 12(b)(6).25

Mandamus relief is unavailable as a matter of law because the agency lacks a clear, nondiscretionary

duty to adjudicate Plaintiffs’ U visa petitions and EAD applications before those filed earlier.

       The Mandamus Statute provides district courts with “original jurisdiction of any action in

the nature of mandamus to compel an officer or employee of the United States or any agency

thereof to perform a duty owed to the plaintiff.” 28 U.S.C. § 1361. Mandamus relief under 28

U.S.C. § 1361 is an “extraordinary remedy” that “will issue only to compel the performance of ‘a

clear nondiscretionary duty.’” Pittson Coal Group v. Sebben,488 U.S. 105, 121 (1988). Indeed,

when “exercising its equitable powers,” the court “is bound to give serious weight to the obviously


24
   See USCIS Policy Manual, Volume 3, Part C, Appendices, available at:
https://www.uscis.gov/policy-manual/volume-3-part-c (last visited June 15, 2021).
25
  To the extent the Court is inclined to grant relief under the APA, Counts Four through Six should
be dismissed because the APA would provide the adequate remedy, thereby precluding granting a
writ. See In re City of Fall River, Mass., 470 F. 3d 30, 32 (1st Cir. 2006).



                                                24
        Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 25 of 26




disruptive effect which the grant of . . . relief . . . [i]s likely to have on the administrative process.”

Sampson v. Murray, 415 U.S. 61, 83 (1974). “To be entitled to mandamus relief, an applicant must

show that: (1) his claim is clear and certain; (2) the official’s duty is nondiscretionary, ministerial,

and so plainly prescribed as to be free from doubt; and (3) no other adequate remedy is

available.” Morgovsky, 517 F. Supp. 2d at 584 (citing Fall River, 470 F. 3d at 32).

        “Although no one disputes that Defendants have a nondiscretionary duty to adjudicate U

visa petitions, Plaintiffs have failed to cite any authority that so plainly requires them to do so

within a particular timeframe that there can be no doubt as to that duty.” A.C.C.S. v. Nielsen, No.

CV 18-10759-DMG (MRWx), 2019 WL 7841860, at *7 (C.D. Cal. Sept. 17, 2019) (internal

quotation marks omitted; emphasis in original). Furthermore, “Defendants do not have a specific,

unequivocal duty to adjudicate work authorization requests for persons who are waiting to be

placed on the waiting list pursuant to § 1184(p)(6).” Ramires, 2020 WL 6146393, at *6.

Accordingly, Plaintiffs have failed to allege facts stating a plausible claim for mandamus relief.

See Calderon-Ramirez, 877 F.3d at 275-76; Gonzalez, 985 F.3d at 374 n.9 (noting that “the agency

has unreviewable discretion in [its] decision not to adjudicate” pre- waitlist work authorization

applications and “thus cannot have a ‘clear duty to act’” as required for mandamus relief (alteration

omitted)).

        Absent a nondiscretionary duty to put Plaintiffs at the front of the line, there is no basis for

the Court to issue a writ of mandamus to compel Defendants to adjudicate Plaintiffs’ U visa

petitions and EAD applications.

                                            CONCLUSION

        For the foregoing reasons, the Court should dismiss the Complaint.




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       Case 1:21-cv-10652-RGS Document 23 Filed 06/21/21 Page 26 of 26




                                   Respectfully submitted,

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                                     26
